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20                               NORTHERN DISTRICT OF CALIFORNIA

21    CHASOM BROWN, WILLIAM BYATT,                   Case No.: 5:20-cv-03664-YGR-SVK
      JEREMY DAVIS, CHRISTOPHER
22
      CASTILLO, and MONIQUE TRUJILLO                 REPLY IN SUPPORT OF PLAINTIFFS’
23    individually and on behalf of all similarly    MOTION FOR LEAVE TO AMEND
      situated,                                      COMPLAINT (R. CIV. P. 15(a))
24
                     Plaintiffs,                     The Honorable Yvonne Gonzalez Rogers
25                                                   Courtroom 1 - 4th Floor
       vs.                                           Date: March 22, 2022
26
                                                     Time: 2:00 p.m.
27     GOOGLE LLC,
                                                     Redacted Version of Document Sought to
28                   Defendant.                      be Sealed

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1                                                  INTRODUCTION
2            During the February 11, 2022 conference, the Court asked Google’s counsel about this
3    motion: “what if I refuse to allow [Plaintiffs] any more discovery, then what’s the prejudice?” Feb.
4    11, 2022 Tr. 19:1-2. The Court then asked Plaintiffs’ counsel whether Plaintiffs would “stipulate
5    that you will not ask for any further discovery.” Id. 19:16-18.
6            Plaintiffs took the Court’s questions to heart, contacted Google’s counsel, and offered to
7    stipulate that Plaintiffs would “not seek any additional discovery based on this amendment.” Dkt.
8    428-10. Google declined, and never said anything further about Plaintiffs’ offer. Instead of
9    reaching out to Plaintiffs, Google in its Opposition (for the first time) raises questions about
10 Plaintiffs’ proposed stipulation, suggesting it is somehow deficient. Had Google reached out, the

11 parties could have together crafted a stipulation that would have eliminated all of Google’s

12 concerns. In any event, with this Reply, Plaintiffs are submitting a revised proposed order that, if

13 entered by the Court, would address all concerns. Plaintiffs do not need or seek any new discovery

14 based on this amendment.

15           Google’s Opposition establishes no basis to deny Plaintiffs’ motion. Google has not
16 established (and cannot establish) any undue delay, bad faith, futility of amendment, or prejudice.

17 Meaux v. Nw. Airlines, Inc., 2006 WL 8459606, at *1 (N.D. Cal. July 17, 2006) (citing Foman v.

18 Davis, 371 U.S. 178, 182 (1962)); see Opening Br. at 20-25. Google’s Opposition Brief (“Opp’n”,
19 Dkt. 428) addresses just two of the factors: prejudice and undue delay, and Google falls far short

20 of meeting its high burden as to both. Prejudice is so lacking that Google attempts to manufacture

21 it by misrepresenting the status of already litigated and decided discovery disputes.

22           There is no reason to depart from “Rule 15’s policy of favoring amendments to pleadings
23 . . . with extreme liberality.” Aguilar v. Boulder Brands, Inc., 2014 WL 4352169, at *1 (S.D. Cal.

24 Sept. 2, 2014) (quoting DCD Programs, LTD. v. Leighton, 833 F.2d 183, 186 (9th Cir. 1987))

25 (internal quotation marks omitted). Plaintiffs therefore respectfully request that the Court grant

26 their motion and permit this limited amendment which clarifies the class definition based on

27 discovery.

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1    I.      Google Cannot Show Prejudice
2            The prejudice factor “carries the greatest weight.” Eminence Cap., LLC v. Aspeon, Inc.,
3    316 F.3d 1048, 1052 (9th Cir. 2003). There is no prejudice here, particularly because Plaintiffs do
4    not seek any additional discovery based on this amendment.
5            A.       Google Misrepresents the Status of Various Discovery Disputes

6            The lack of prejudice is so stark that Google attempts to manufacture it by misrepresenting

7    the status of discovery disputes. Google argues that “Plaintiffs seek Rule 30(b)(6) testimony about

8    Google Ad Sense” (Opp’n at 9), which is one of the Google tracking and advertising mechanisms

9    that would fall within Plaintiffs’ amended class definition. But in fact, Plaintiffs dropped their

10 request for 30(b)(6) testimony on Ad Sense weeks ago. On February 16, 2022, in a draft of the

11 parties’ 30(b)(6) disputes letter brief, Plaintiffs told Google that they were no longer seeking
                                                      1
12 30(b)(6) testimony on Ad Sense. See Bonn Decl. ¶ 3. Google’s Opposition Brief, filed nine days

13 later, pretends this never happened.

14           Magistrate Judge van Keulen has also already ruled on the 30(b)(6) disputes, so this

15 amendment could not possibly affect those depositions. That ruling was issued on February 22.

16 Dkt. 418. Yet Google’s February 25 Opposition Brief claims that Plaintiffs “seek” “additional Rule

17 30(b)(6) testimony.” Opp’n at 9. That is also false. Magistrate Judge van Keulen worked hard to

18 quickly issue a ruling, and Plaintiffs are not appealing that order. Bonn Decl. ¶ 4. There is nothing
19 more for Plaintiffs to “seek.” Instead, the parties are scheduling and preparing for those 30(b)(6)

20 depositions, consistent with the Court’s Order. Bonn Decl. ¶ 4.

21           Google’s remaining attempts to manufacture prejudice are equally baseless. Google claims

22 to have “no doubt” that Plaintiffs will “seek to extend the discovery schedule . . . to allow time to

23 demand discovery relating to [additional] Google products and services.” Opp’n at 7. Google

24 provides no support for this assertion, and there is none. Plaintiffs have never taken that position.

25

26   1
     “Bonn Decl.” refers to the Declaration of Amanda Bonn concurrently filed with this Reply Brief
   in Support of Plaintiffs’ Motion to Amend. “Mao Decl.” refers to the Declaration of Mark C. Mao
27 filed with Plaintiffs’ Motion to Amend, Dkt. 395-1.

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1    To the contrary, Plaintiffs’ Opening Brief confirmed that “Plaintiffs will not seek an extension of
2    the discovery deadlines on the basis of this amendment.” Opening Br. at 21. Plaintiffs stand by
3    that statement.
4            Google next complains that Plaintiffs will (a) seek “additional document discovery” about
5    topics for “which Judge van Keulen previously ruled [documents] need not be produced” and (b)
6    ask Google to “supplement or amend its prior responses to take into account the new service at
7    issue.” Opp’n at 9. Again, this is incorrect, and Google has nothing to fear. Plaintiffs will neither
8    seek additional documents nor amended discovery responses from Google on the basis of this
9    amendment.
10           B.        Google Misrepresents the Scope of this Amendment
11           Google also exaggerates the impact of Plaintiffs’ amended class definition. As a threshold
12 matter, Plaintiffs’ amendment is highly unlikely to add any new class member. Opp’n at 12.

13 Google Analytics, mentioned in the current class definition (SAC ¶ 192 (Dkt. 136-1))

14                                                Mao Decl. Ex. 36, GOOG-BRWN-00490767 at -72.
15

16                              —to say nothing of Google Ad Manager, which is also mentioned in the
17 current class definition. With this amendment, Plaintiffs merely seek to conform the class

18 definition to capture what discovery has shown to be additional ways that Google tracks users
19 within private browsing sessions, in addition to Google Analytics and Google Ad Manager.

20            Google also misleadingly suggests that Plaintiffs seek to litigate “all Google web-services.”
21 Opp’n at 1. But, as made clear in the Opening Brief, Plaintiffs are focused on Google tracking and

22 advertising code by which Google profits from its collection and use of private browsing

23 information collected from users’ visits to non-Google websites, including as outlined in Google’s

24 internal                        analysis. Opening Br. at 13-14, 16-18. This has already been the subject
25 of extensive discovery.

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1            C.       Google Ignores Plaintiffs’ Cases and Relies on Inapposite Ones
2            Stripped of its strawmen arguments about Plaintiffs’ position, Google has no response to
3    Plaintiffs’ actual arguments. Indeed, Google’s Opposition Brief completely ignores numerous
4    cases cited in Plaintiffs’ Opening Brief. See Opening Br. at 20-21; Unicolors, Inc. v. Kohl’s, Inc.,
5    2016 WL 9211658 (C.D. Cal. Aug. 23, 2016); Nangle v. Penske Logistics, LLC, 2016 WL
6    9503736 (S.D. Cal. July 20, 2016); Aguilar v. Boulder Brands, Inc., 2014 WL 4352169 (S.D. Cal.
7    Sept. 2, 2014). These cases show that courts should grant leave to amend where “[d]iscovery
8    should not be substantially impacted.” Aguilar, 2014 WL 4352169, at *5 (S.D. Cal. Sept. 2, 2014).
9    Leave is even more appropriate here because Plaintiffs are seeking no discovery on the basis of
10 this amendment.

11           Google addresses just one of Plaintiffs’ cases—McCabe v. Six Continents Hotels, Inc.,
12 2013 WL 12306494 (N.D. Cal. Oct. 10, 2013); Opp’n at 10. But Google misunderstands the lesson

13 from it. McCabe instructs that an amendment is warranted even when it might increase the

14 defendant’s liability so long as the amendment is “based on the same alleged unlawful practice.”

15 Id. at *2. Here, although the revised class definition brings in additional Google tracking and

16 advertising mechanisms revealed in discovery, Plaintiffs’ claims are still based “on the same

17 alleged unlawful practice”—Google’s collection and use of private browsing information collected

18 from users’ visits to non-Google websites, the focus of this case since day one.
19           This amendment is consistent with what the parties have been litigating since June 2020,
20 and the Court’s ruling that “Plaintiffs could have reasonably assumed that Google would not

21 receive their data while they were in private browsing mode.” Dkt. 113 (Order denying MTD FAC)

22 at 36. The case focuses on the data received by Google. Whether “Google’s collection and use of

23 data may vary from service to service” (Opp’n at 10) is of no moment. The core of Plaintiffs’

24 claims has always been that Google promises not to collect or use private browsing information

25 and then does. Google breaks those promises (breaching the contracts and committing other

26 violations) whenever and however Google collects private browsing information.

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1            This Court already rejected Google’s argument that it would face prejudice insofar as the
2    amended class definition might affect the “amount of potential revenue that’s related to
3    [Plaintiffs’] damages.” Feb. 11, 2022 Hearing Tr. 19:3-4. That “isn’t an issue for [the Court in]
4    terms of class definition. . . . You may not like it, but if there’s no prejudice in terms of what’s
5    actually been litigated, then I don’t understand how you have a strong opposition.” Id. 19:5-11.
6            The cases that Google cites are inapposite. In Rivera v. Invitation Homes, Inc., 2022 WL
7    504161, at *1 (N.D. Cal. Feb. 18, 2022), the plaintiffs sought to modify their class definition in
8    their motion for class certification. Id. at *3. By contrast, Plaintiffs filed this motion one month
9    before the close of fact discovery, three months before the close of expert discovery, and months
10 before their deadline to move for class certification. Dkts 377, 431. As explained in Rivera,

11 “District courts are split over whether to hold a plaintiff to the definition of the class as set forth in

12 the complaint. Some courts strictly adhere to class definitions provided in the operative complaint

13 and require plaintiffs to amend their complaint before certifying a different class.” Rivera, 2022

14 WL 504161, at *3. Consistent with this guidance, Plaintiffs moved to amend ahead of moving for

15 class certification. Any potential limitations on seeking such an amendment within a motion for

16 class certification, at issue in Rivera, do not apply here.

17           The proposed amendment in Rivera is also very different from the proposed amendment
18 here. The Rivera court denied leave to amend because the Plaintiffs-tenants sought to expand their
19 class to include tenants who rented from the defendant’s “predecessor entities.” Id. at *3. That

20 amendment would prejudice the defendant-landlord, particularly because the court had already

21 “rejected Plaintiff’s theory of successor liability.” Id. at *4. Here, on the other hand, Plaintiffs’

22 amendment is consistent with this Court’s prior rulings, and Google’s arguments. “Google’s

23 representations regarding private browsing present private browsing as a way that users can

24 manage their privacy and omit Google as an entity that can view users’ activity while in private

25 browsing mode.” Dkt. 113 (Order Denying MTD FAC) at 16. That ruling was not specific to

26 Google Analytics or Google Ad Manager. Nor were Google’s motion to dismiss arguments.

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1     Google broadly argued that the Privacy Policy “disclosed that Google would receive the data from
2     its third-party services.” Id. at 15 (emphasis added).
3             Google’s other cases are even further afield. One group of plaintiffs in In re Western States
4     Wholesale Natural Gas Antitrust Litigation, 715 F.3d 716, 736 (9th Cir. 2013), sought to amend
5     “after the pretrial scheduling order’s deadline for amending the pleadings” and so the court did not
6     apply the “liberal standard of Federal Rule of Civil Procedure 15(a).” Id. at 737. Here, the parties
7     agree that Rule 15(a) applies. See Opp’n at 5. Moreover, the plaintiffs in Natural Gas sought to
8     add brand new legal claims—after having previously amended their complaint to add additional
9     claims. 715 F.3d at 738. The amendment in Jackson v. Bank of Hawaii, 902 F.2d 1385, 1388 (9th
10 Cir. 1990) (Opp’n at 6) likewise included “additional claims” and “would require [the defendant]

11 to relitigate a portion of their [entirely separate] state court action with their insurer.” Here, by

12 contrast, Plaintiffs are adding no new claim. And unlike in Jackson, this amendment certainly will

13 not require Google to relitigate some other case. Finally, the plaintiff’s amendment in Morongo

14 Band of Mission Indians v. Rose, 893 F.2d 1074, 1079 (9th Cir. 1990), came “[a]fter the dismissal

15 of its original complaint, and nearly two years after its filing.” (emphasis added). Unlike in

16 Morongo, Plaintiffs in this case promptly sought this amendment after this Court’s ruling denying

17 Google’s motion to dismiss. See Opening Br. at 23-24; infra Section II.

18            D.       Google’s Defense Will Not Change
19            Nor is there any merit to Google’s argument that it will need to “reexamine its defenses”
20 because of this amendment. Opp’n at 1. Google tellingly provides no example of how it might

21 defend Ad Manager or Analytics tracking differently from how it would defend tracking via a

22 different mechanism, such as Ad Sense. To the contrary, Google tacitly admits that its strategy

23 will remain the same.

24            For example, Google argues that Plaintiffs purportedly consented to Google’s collection of
25 their private browsing information in light of publicly available “Developer Tools.” See Opp’n at

26 11 (“[T]he fact that Google receives the disputed data from Chrome Incognito sessions to facilitate

27 Google Analytics, Ad Manager, and other Google services is plainly visible using Chrome’s

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1     Developer Tools.”); see also Dkt. 428-2 (Broome Decl.) Exs. 10-12 (screenshots of “Developer
2     Tools”). Google thus admits that it will rely on the same “developer tools” that it has been citing
3     for over a year for the other Google services that were named in Plaintiffs’ original complaint. See
4     Feb. 25, 2021 Mtd. Hearing Tr. 53:11-12 (“So we checked the developer tools on the Court’s
5     website and it appears to be using third-party service providers.”).
6             Google’s choice of words is also telling. It collectively defines data collected via Analytics,
7     Ad Manager, and “other Google services” as “the disputed data.” Opp’n at 11; see also Opp’n at
8     1, 3, 6, 8, 10 (repeatedly referring to “the disputed data”). This “disputed data” is Plaintiffs’ private
9     browsing information, which Google lacked consent to collect and use regardless of which
10 tracking or advertising mechanism Google employed. Google’s Answer to the Complaint, filed

11 shortly before Plaintiffs even sent Google their proposed amendment, likewise argues that users

12 broadly (purportedly) consent to Google’s collection and use of their private browsing information

13 by way of “services” that Google provides to websites. Dkt. 387, Answer, First Affirmative

14 Defense: Consent.

15            Likewise, the argument in Google’s Opposition Brief about its disclosures makes no
16 distinction among Analytics, Ad Manager, or some other Google tracking or advertising

17 mechanism. Instead, Google claims it “has never promised that Chrome’s private browsing

18 mode—known as Incognito—would prevent Google from receiving data used to provide services,
19 such as Google Analytics and Ad Manager, to third-party websites.” Opp’n at 2 (emphasis added).

20 That Google’s purported consent defense applies to all Google tracking and advertising

21 mechanisms only underscores that Plaintiffs’ amendment is “based on the same alleged unlawful

22 practice” and therefore warranted. McCabe, 2013 WL 12306494 at * 2.

23            Google’s unexplained worry about “additional expert work” also falls flat. Opp’n at 9.
24 Google offers no concrete example of how or why its experts would need to go “back to the

25 drawing board.” Id. at 9-10. Google’s feigned surprise is particularly unconvincing because

26 Plaintiffs’ amendment is based on documents Google produced in discovery in the Fall of 2021.

27 See Dkt. 428-15 (listing the production dates of the documents cited in the Opening Brief). Surely

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1     that’s one thing. We haven’t quite been told that.” Feb. 11, 2022 Hearing Tr. 19:12-15. Plaintiffs
2     sought to tell Google exactly that by reaching out after that hearing.
3             Google now—for the first time—portrays Plaintiffs’ subsequent email as unclear,
4     suggesting that Plaintiffs were in some way reserving a right to “demand new discovery” about
5     additional Google services. Opp’n at 7-8. Plaintiffs disagree. But to the extent Google had
6     questions about Plaintiffs’ email, Google could have picked up the phone. Plaintiffs would have
7     assured Google that they have no plans to do the things that Google now claims to fear, and the
8     parties could have worked together to draft appropriate language that would prevent Plaintiffs from
9     doing those things. Instead, Google curtly responded that it “prefer[s] to let the judge decide if
10 Plaintiffs’ third amendment after 18 months of litigation is proper.” Bonn Decl. Ex. 1.

11            In any event, Plaintiffs will honor their proposal not to seek any further discovery on the
12 basis of this amendment. With this Reply Brief, Plaintiffs are submitting a revised proposed order

13 that, if entered, will put all of Google’s concerns to rest.

14 II.        Google Cannot Show Undue Delay
15            Plaintiffs’ request for this amendment was timely. It merely conforms the class definition
16 to what Plaintiffs have learned in discovery from Google about various Google tracking and

17 advertising mechanisms that                                                                                . Opening
18 Br. at 15-19, 23-24. For example, as described in the Opening Brief, the amendment is consistent
19 with a Google document

20

21                                                           . Mao Decl. Ex. 10; Opening Br. at 16-17. Google’s
22 suggestion that Plaintiffs should have always understood the true scope of Google’s collection and

23 use of private browsing information (Opp’n at 11) is belied by (1) the fact that Google produced

24 the                      document on October 5, 2021 (Dkt. 428-15), and (2) Google has now sought to
25 seal this document in its entirety, see Dkt. 409 at 5. This non-public information is part of why

26 Plaintiffs are seeking the amendment.

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1             Since receiving this Google document and other similar ones, Plaintiffs have diligently
2     pursued discovery into                         and the corresponding Google tracking and advertising
3     mechanisms, consistent with the scope of this amendment. Plaintiffs promptly reviewed Google’s
4     October 2021 productions for purposes of preparing for depositions, including a November 24,
5     2021 deposition of Google employee Abdelkarim Mardini. During that deposition, Plaintiffs
6     explored in detail another version of the Exhibit 10 document referenced throughout the Opening
7     Brief. See Bonn Decl. Ex. 2, Mardini Tr. 408:10-416:1 (discussing GOOG-CABR-04455208).
8     Plaintiffs’ interest in                    is not a surprise to Google.
9             Plaintiffs then filed this motion promptly after the Court ruled on Google’s motion to
10 dismiss (Dkt. 363) and Google filed its Answer (Dkt. 387). Google now suggests that Plaintiffs

11 should have filed this motion in November, as soon as Plaintiffs received the documents cited in

12 the Opening Brief. Opp’n at 13. But by the time Plaintiffs received, reviewed, and began

13 questioning witnesses about the                             analysis and related documents, Google’s motion
14 to dismiss (Dkt. 164) had been fully briefed for almost five months, and the Court had already

15 vacated the hearing on the motion (Dkt. 283). Plaintiffs did not want to burden the Court with

16 duplicative motion practice and perhaps a whole new round of motion to dismiss briefing while

17 Judge Koh was putting finishing touches on her opinion. And sure enough, her ruling came out on

18 December 22, 2021. Dkt. 363. Google then sought and received an extension on its deadline to file
19 an Answer, Dkt. 377, and Plaintiffs shortly thereafter sent this proposed amendment to Google.

20 Dkt. 395-1 ¶ 5. There has been no delay, much less any undue delay.

21            Google’s claim that “Plaintiffs filed the FAC while Google’s first motion to dismiss was
22 pending” (Opp’n at 13) is almost as misleading as Google’s Ad Sense argument, see supra Section

23 I.A. Plaintiffs did not unilaterally file an amended complaint while a motion to dismiss was

24 pending. Instead, the parties stipulated that Plaintiffs could file an amended complaint in lieu of

25 responding to Google’s motion to dismiss, and that Google would thereafter re-file a new motion

26 to dismiss. Dkts. 59, 62, 71. That first motion to dismiss was never teed up for the Court.

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1             Google’s reliance on AmerisourceBergen Corp. v. Dialysist W., Inc., 465 F.3d 946, 954
2     (9th Cir. 2006) is misplaced. Opp’n at 12. Dialyst did not even involve a motion to amend a
3     complaint, and instead concerned a proposed reply to a counterclaim that raised “different legal
4     theories.” Chodos v. West Publishing Co., 292 F.3d 992, 1003 (9th Cir. 2002), is inapposite for a
5     similar reason, namely, the new complaint included a brand new legal claim. Plaintiffs here are
6     merely seeking to conform their proposed class definitions to what Plaintiffs have learned in
7     discovery about the true scope of Google’s collection and use of private browsing information.
8             Finally, even had Plaintiffs delayed in seeking this amendment (and they did not), “delay,
9     by itself, is insufficient to justify denial of leave to amend,” Aguilar, 2014 WL 4352169, at *1.
10 Google did not respond to this argument nor to the cases Plaintiffs cited in support of it. Id.; Bowen

11 v. Target Corp., 2019 WL 9240985, at *3 (C.D. Cal. Nov. 12, 2019); Opening Br. at 24. Any

12 theoretical delay is far outweighed by the lack of prejudice, particularly when Google grounds its

13 prejudice arguments on discovery disputes that no longer exist. See supra Section I.

14 III.       Google Ignores the Other Two Factors: Bad Faith and Futility
15            Google does not even try to argue that Plaintiffs are amending in bad faith or that this
16 amendment would be futile. Google’s implicit concession on these factors underscores why leave

17 should be granted. The central question in this case is whether Google violated the law by

18 collecting and using private browsing information—i.e., what Google’s Opposition Brief
19 repeatedly calls “the disputed data.” Opp’n at 1, 3, 6, 8, 10, 11. This Court has now twice validated

20 Plaintiffs’ theory: “Plaintiffs could have reasonably assumed that Google would not receive their

21 data while they were in private browsing mode.” Dkt. 113 (Order denying MTD FAC) at 36; see

22 also Dkt. 363 (Order Denying MTD SAC). Google now wants to artificially limit its liability on

23 the basis of technicalities like whether “the disputed data” was collected by way of Google

24 Analytics or some other Google tracking or advertising mechanism. This amendment is therefore

25 guided by “the underlying purpose of Rule 15 . . . to facilitate decision on the merits, rather than

26 on the pleadings or technicalities.” Lopez v. Smith, 203 F.3d 1122, 1128 (9th Cir. 2000).

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1                                                     CONCLUSION
2             Plaintiffs respectfully request leave to file their proposed Third Amended Complaint.
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          Dated:        March 4, 2022                      SUSMAN GODFREY L.L.P.
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